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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                      §                             CASE NUMBER:
                            §
MOUNTAIN EXPRESS OIL COMPANY§                             23-90147 (DRJ)
                            §                             (Chapter 11)
                            §
   DEBTORS1                 §                             (Jointly Administered)

                NOTICE OF APPOINTMENT OF CHAPTER 11 TRUSTEE

        Pursuant to the Order of the Bankruptcy Court entered on August 16, 2023, (the “Order”)
directing the United States Trustee to appoint a chapter 11 trustee in the above-captioned case, the
United States Trustee hereby appoints JANET S. NORTHRUP to serve as the chapter 11 trustee
in the jointly administered Mountain Express Oil Company cases.

       This appointment is made on the 17th day of August 2023.


Dated: August 18, 2023                                 KEVIN M. EPSTEIN
                                                       UNITED STATES TRUSTEE REGION 7

                                                       By:/s/ C. Ross Travis
                                                       C. Ross Travis
                                                       LA Bar No. 40083
                                                       515 Rusk, Suite 3516
                                                       Houston, Texas 77002
                                                       Phone: (713) 718-4650
                                                       Fax: (713) 718-4670
                                                       Email: C.Ross.Travis@usdoj.gov




1
 A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the
Debtors’ claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor
Mountain Express Oil Company’s principal place of business and the Debtors’ service address in these
Chapter 11 cases is 3650 Mansell Road, Suite 250, Alpharetta, GA 30022.
